                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA


v.                                                                        No. 3:22-CR-14
                                                                          Varlan/McCook

DAVID HENDERSON


                       MEMORANDUM OF LAW IN SUPPORT OF
                         MOTION TO DISMISS INDICTMENT
                             BASED ON DUPLICITY


I. Introduction

       This Memorandum of Law is filed in support of David Henderson’s Motion to Dismiss

Indictment Based on Duplicity. Mr. Henderson is charged with a conspiracy to commit theft of

federal program funds in violation of 18 U.S.C. §§ 666(a)(1)(A) and 371. The Indictment in this

case is twenty-one pages long and includes a litany of allegations against Mr. Henderson. The

Indictment alleges as follows:

               Between in or around 2011, and continuing uninterrupted to in or
               about September, 2018, in the Eastern District of Tennessee and
               elsewhere, the defendant, DAVID HENDERSON, together with
               other unindicted co-conspirators, did knowingly, intentionally, and
               unlawfully combine, conspire, confederate, and agree with each
               other to commit an offense against the United States—that is, the
               theft of federal program funds under 18 U.S.C. § 666(a)(1)(A)--in
               violation of 18 U.S.C. § 371.

(ECF 3, PageID# 5). The Indictment fails to allege that property valued at $5,000.00 or more

was stolen or otherwise misappropriated in any one year period. Instead, the Indictment

aggregates the value of property alleged to have been stolen or otherwise misappropriated over a




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period of approximately 93 months without alleging that such property was taken in a one year

period. In short, the Indictment alleges multiple conspiracies in one count.

II. Law and Argument

         In the Sixth Circuit, duplicity is the joining of two or more separate offenses into a single

count of the indictment. United States v. Hood, 210 F.3d 660, 662 (6th Cir. 2000). “An

indictment is duplicitous if it sets forth separate and distinct crimes in one count.” United States

v. Davis, 306 F.3d 398, 415 (6th Cir. 2002). The primary problem with duplicitous counts is that

the jury may not arrive at a unanimous verdict on a specific count. United States v.

Washington, 127 F.3d 510, 513 (6th Cir. 1997). Other adverse effects on a defendant “may

include improper notice of the charges against him, in sentencing, in limiting review on appeal,

and in exposure to double jeopardy.” United States v. Duncan, 850 F.2d 1104, 1108 n.4, (6th Cir.

1988).

         A duplicitous charge further prejudices the Defendant at trial because evidentiary rulings

permitting evidence to come in as to one of the separate offenses may be inadmissible on

another. See United States v. Pavloski, 574 F. 2d 933, 936 (7th Cir. 1978); United States v. UCO

Oil Company, 546 F. 2d 833, 835 (9th Cir. 1976). As a general rule, duplicitous conspiracy

charges are impermissible. See Kotteakos v. United States, 328 U.S. 750 (1946). The rationale

for dismissing a single conspiracy count which contains multiple conspiracies is based upon the

same concept of impermissible variance of proof. See Stirone v. United States, 361 U.S. 212

(1960). Duplicitous indictments can prevent jurors from acquitting on a particular charge

because they decide to convict on another charge which is improperly lumped together in a

single count. When this occurs, it is impossible to determine whether all twelve jurors




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unanimously agree that the Defendant committed even one of the separate offenses contained

within the duplicitous count. UCO Oil Company, 546 F. 2d 833.

       In United States v. Valentine, 63 F.3d 459 (6th Cir. 1995), the Sixth Circuit Court of

Appeals addressed “whether § 666(a)(1)(A)(i) of the statute criminalizes multiple conversions of

less than $5,000, if more than one year is needed to reach the $5,000 statutory minimum. Id. at

462. In Valentine, like here, the indictment did not separate incidents of theft by the year in

which they occurred. Id. at 463. The Court concluded that, in addition to the monetary

threshold, subsection (b) included the temporal limitation that the agency must receive benefits

greater than $10,000.00 in any one year. Id.

       The term “any one year period” is defined as “a continuous period that commences no

earlier than twelve months before the commission of the offense or that ends no later than twelve

months after the commission of the offense. 18 U.S.C. § 666(d)(5). Based on this language, the

Court held that “[t]he interrelationship between subsections (a) and (b) of the statute mandate

that a one-year limitation likewise attaches to the $5,000 threshold requirement.” Valentine, 63

F.3d at 463, See also United States v. Hines, 541 F.3d 833, 837 (8th Cir. 2008) (“Significant

longstanding schemes that extend for longer than one year . . . may be charged in multiple counts

so long as the $5,000 requirement is met in each one-year time period.”). The Court in Valentine

also reviewed the legislative history relevant to the statute:

               Again, nothing in the legislative history shows that Congress
               intended to reach theft of insignificant amounts by allowing the
               government to aggregate conduct over an indefinite, expansive
               period of time. Accordingly, we hold that a natural reading of the
               statute requires the $5,000 theft to occur during a one-year period.
               Here, the indictment improperly included numerous incidents of
               theft over a three-year period as did the evidence presented at trial,
               and for this reason, neither defendant's conviction on Count One or
               Count Two may stand.




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Valentine, 63 F.3d at 464.

       The Indictment in this instant case runs afoul of the limitations set forth in

Valentine. The Indictment alleges the following:

               From in or around 2011 and continuing uninterrupted to in or
               around September 2018, DAVID HENDERSON was the Chief of
               the KCSO Narcotics Unit (“Narcotics Unit”). (ECF 3. Page ID 3,
               ¶ 5).

               At all time relevant to this Indictment, DAVID HENDERSON had
               supervisory authority over all KCSO officers who worked in the
               Narcotics Unit. Id. at ¶ 6.

               Between in or around 2011, and continuing uninterrupted to in or
               about September, 2018, in the Eastern District of Tennessee and
               elsewhere, the defendant, DAVID HENDERSON, together with
               other unindicted co-conspirators, did knowingly, intentionally, and
               unlawfully combine, conspire, confederate, and agree with each
               other to commit an offense against the United States—that is, the
               theft of federal program funds under 18 U.S.C. § 666(a)(1)(A)--in
               violation of 18 U.S.C. § 371. (ECF 3, PageID# 5).

               At all times material to this Indictment, as an agency of the Knox
               County government, the KCSO received more than $10,000 per
               year in federal grant funds. (ECF 3. Page ID 3, ¶ 4).

 The Indictment fails to allege any dates that would establish a one year period in which

$5,000.00 or more worth of property was stolen or otherwise taken without authority. The

Indictment fails to allege that $5,000.00 or more worth of property was ever stolen, or otherwise

taken without authority, in a one year period. In short, the Indictment alleges multiple incidents

of theft over a 93 month period. The Indictment charges multiple conspiracies, that are alleged

to have spanned 93 months, in one count. Accordingly, it is entirely possible that the jury may

not reach a unanimous verdict on count one of the Indictment. In addition, the Indictment does

not sufficiently advise Mr. Henderson of the charges against him, and exposes him to the risk of

double jeopardy should he be tried again in the future.




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III. Conclusion

       For the foregoing reasons, the Indictment should be dismissed because it is duplicitous

insofar as count one alleges multiple conspiracies in the same count.

       Respectfully submitted on April 29, 2022.

                                                           s/ Robert R. Kurtz
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